            Case 4:18-cv-05055-SMJ   ECF No. 4     filed 04/03/18     PageID.121 Page 1 of 1
                                  UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF WASHINGTON
                                       920 WEST RIVERSIDE AVENUE
                                              P.O. BOX 1493
                                       SPOKANE, WASHINGTON 99210
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April 3, 2018


U.S. Court of Appeals for the Ninth Circuit
95 Seventh Street
P.O. Box 193939
San Francisco, CA 94103

Re:     Hoffman v. No Named Respondent
        4:18-cv-05055-SMJ

Dear Sir or Madam:

An Order Directing Transfer to Ninth Circuit Court of Appeals has been entered in the above-
referenced case. The case record is available in electronic format on PACER.

If you have any questions, please do not hesitate to call.

UNITED STATES DISTRICT COURT


By      s/Shelly Koegler
         Deputy Clerk
